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                                                                                           FILED
1                                                                                CLERK, U.S. DISTRICT COURT


2        ◼ Peter Szanto                                                            August 6, 2023
     11 Shore Pine
3    Newport Beach CA 92657                                                    CENTRAL DISTRICT OF CALIFORNIA
     949-887-2369                                                                         PMC
                                                                                 BY: ___________________ DEPUTY
4

5                                  U.S. District Court
                                           Central District of California
6

7
        Peter Szanto,
                                                          # 8:23-cv-01172 SVW
8
                         Debtor, Appellant

9
                                                                  FROM: 8:23-bk-11187-SC
10
                                                                Debtor’s Preliminary
11

12
                                                                            Response to
13                                                                   OSC of 8-4-2023
14

15

16         May it please this honorable court.
17

18         Appellant was extremely surprised by the Court’s ORDER to Show Cause.

19
           Appellant duly and timely filed, on 7-11-2023 [DE 5], his Designation of Matters in
20
     this Appeal. Included in [DE 5] were the Statement of Issues on Appeal.
21

22         This is what is required by Federal Rule of Bankruptcy Procedure (FRBP) 8009.

23
           Therefore, the OSC has erred in stating those matters are incomplete, unfinished.
24

25         As for the transcripts, there were no hearings in the Appealed from Bankruptcy;
26   hence no courtroom appearances were transcribed.

27

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1

2          On 8-4-2023, Appellant alerted the Bankruptcy clerk of this fact: there are no
3    transcripts about which to be concerned.

4

5          The next step in the appeals process is FRBP 8010: completion and transmittal of
     the record. The duty and responsibility for those actions is assigned to the clerk of the
6
     Bankruptcy court. Appellant is not involved.
7

8
           Appellant has been waiting for NOTICE that preparation and transmittal of the
9
     appellate record to this Court is complete.
10

11
           This affords Appellant opportunity to amend or correct the record, if / as necessary,
12
     prior to any submissions.
13

14
          If Appellant has erred in his understanding of the procedures and process of this
15
     Appeal, Appellant apologizes. Appellant is prepared to correct any faults or lateness
16
     which the Court identifies.
17

18
         Appellant prays the OSC be discharged, or altered, so as properly to alert Appellant
19
     of any defects, tasks to complete or tardiness within his responsibility or control.
20

21
         Most respectfully,
22

23
         DATED August 6, 2023 Signed Electronically Peter Szanto Signed at Irvine CA
24

25

26

27

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1

2
     PROOF of SERVICE
3
     My name is Maquisha Reynolds, I am over 21 years of age and not a party to the within action.
4    My business address is 11 Shore Pine, Newport Beach CA 92657.

5
        On the date indicated below, I personally served the within:
6
     Preliminary Response to OSC
7

8    on the following by placing the within document in postage pre-paid envelopes
     addressed as (and also faxing to the creditor banks) indicated below:
9

10       1. PRA Receivables Management               2. United States Trustee (by ECF and email)
            PO Box 41021                                 Attn: Corina R. Pandeli
11          Norfolk, VA 23541                            880 Front Street # 3230
                                                         San Diego, CA 92101
12
         3.Bank of America                         4. Chase Bank
            100 N. Tyron                               700 Kansas Lane – 1st Floor
13          Charlotte NC 28255                         Monroe LA 71203

14           FAX to 401-865-7950                         FAX to 866-282-5682

15
         5. Bank of New York            6. Trustee Corps               7.Capital One
             21 Hanson Place               17100 Gilette Ave             6125 Lakeview Road
16           Brooklyn NY 11217             Irvine CA 92614               Charlotte NC 28269

17           Fax to 561-682-8644

18       ‘8. Quality Loan Service                 9. Davis Wright Tremaine for Chase
            2763 Camino del Rio South                505 Montgomery St. #800
             San Diego CA 92108                      San Francisco CA 94111
19
          10. Chevron Texaco                      11. Pentagon Federal Bank
20           777 Long Ridge Rd.                      7940 Jones Branch Dr.
             Stamford CT 06902                        McClean VA 22102
21
         12. Franchise Tax Board                  13. IRS−Insolvency Division
22           Bankruptcy Div                            P.O. Box 7346
             P.O. Box 2952                             Philadelphia, PA 19101
             Sacramento, CA 95812
23

24   and by mailing copies to the above parties via 1st class mail, postage prepaid.
     My fax machine returned successful transmission as to all 3 banks
25

26          I declare under penalty of perjury under the laws of the United States that the foregoing is true and
     correct. Signed at Irvine CA.
27
                               6 August 2023 Signed Electronically M. Reynolds
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